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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF DELAWARE

       F'REAL FOODS, LLC and
       RICH PRODUCTS
       CORPORATION,

                              Plaintiffs,

                 v.                                 Civil Action No. 16-41-CFC

       HAMILTON BEACH
       BRANDS, INC. and HERSHEY :
       CREAMERY COMPANY,

                             Defendants.:


                            MEMORANDUM ORDER

       In a single filing (D.1. 169), Plaintiffs have asked the Court to grant six

motions for summary judgment. I addressed three of Plaintiffs' motions in

memorandum orders issued on April 12, 2019 and April 17, 2019. I address in this

Memorandum Order the three remaining motions for summary judgment in D.I.

169.

       1.    In the first of the remaining motions, Plaintiffs seek summary

judgment on Defendants' defenses and counterclaims regarding incorrect

inventorship of the asserted patents. See D.I. 169; D.I. 170 at 31-37. Plaintiffs

argue that there is no record evidence to support Defendants' allegations of

incorrect inventorship. In response, Defendants assert that "Geppert [a former
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employee of Plaintiff freal foods, LLC, to which entity Farrell, the named

inventor, assigned the asserted patents] helped conceive of at least one limitation of

each of the claims of [the three asserted patents for which Defendants allege

incorrect inventorship]." See D.I. 232 at 7, ,r 3. In support of this assertion,

Defendants point to certain excerpts from Geppert's and Farrell's depositions and

and an "Employee Confidential Information and Inventions Agreement" executed

by f real and Geppert. See id.

      2.     The cited deposition excerpts do not support Defendants' position.

Indeed, Geppert denied under oath at his deposition that he invented or co-invented

the subject matter of the patents at issue. See D.I. 219, Ex. TT at 224:21-232:8.

      3.     Notwithstanding Geppert's deposition testimony, the agreement could

arguably support Defendants' position because Geppert handwrote in Exhibit A of

the agreement, under the heading "List of Prior Inventions and Original Works of

Authorship," the words "various aspects of [one of Plaintiffs' blenders]." See D.I.

202, Ex. 13 at FREAL186806. Although I question whether this document would

be admissible at trial as substantive evidence of Geppert's inventorship, Plaintiffs

do not dispute its admissibility and therefore I will treat it as admissible for

purposes of ruling on this motion. Because there is a dispute about the meaning of

Geppert's writing in Exhibit A of the agreement, it appears that there may be

genuine issues of material fact about whether Geppert is an unnamed inventor of at



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least one of the patented inventions. Accordingly, I will deny this motion. See

FED. R. CIV. P. 56(a) {"The court shall grant summary judgment if the movant

shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law."); Celotex Corp. v. Catrett, 477 U.S. 317,

323-(1986) ("[T]he party moving for summary judgment ... bears the burden of

demonstrating the absence of any genuine issues of material fact.").

      4.     Next, Plaintiffs seek summary judgment on Defendants' inequitable

conduct claims. See D.I. 169; D.I. 170 at 40-43. If a jury found in Defendants'

favor that Geppert is an unnamed inventor of at least one of the patented

inventions, then it would not be unreasonable for the jury to find that Farrell's

assertions of sole inventorship before the United States Patent and Trademark

Office in the prosecution of the patents were materially and intentionally

misleading, amounting to inequitable conduct. See Am. Ca/car, Inc. v. Am. Honda

Motor Co., 768 F.3d 1185, 1190-91 (Fed. Cir. 2014) ("[B]ecause direct evidence

of deceptive intent is rare, a district court may infer intent from indirect and

circumstantial evidence, provided that such intent is the single [most] reasonable

inference." (internal quotation marks and citation omitted)); Therasense, Inc. v.

Becton, Dickinson & Co., 649 F.3d 1276, 1292 (Fed. Cir. 2011) ("Although but-for

materiality generally must be proved to satisfy the materiality prong of inequitable

conduct, this court recognizes an exception in cases of affirmative egregious



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misconduct ... such as the filing of an unmistakably false affidavit .... "); cf

Hardin v. Pitney-Bowes Inc., 451 U.S. 1008, 1008 (1981) (Rehnquist, J.,

dissenting) ("It has long been established that it is inappropriate to resolve issues of

credibility, motive, and intent on motions for summary judgment."). I will

therefore deny this motion.

      5.     Finally, Plaintiffs seek summary judgment that U.S. Patent No.

7,520,662 is not invalid "in view of Defendants' admissible prior art." DJ. 169;

see also D.I. 170 at 44. Plaintiffs argue that summary judgment is appropriate

because "estoppel properly applies to each of the seven prior art combinations that

Defendants have disclosed." D.I. 170 at 44. Defendants respond that "Defendants

are not estopped from asserting two of their prior art combinations." D.I. 195 at

35. In ruling on two separate motions in limine, however, I excluded those two

prior art combinations. See D.I. 239; Tr. of Apr. 11, 2019 Hr'g, at 26:12-27:3. I

will therefore grant this motion.



      WHEREFORE, on this Eighteenth day of April in 2019, IT IS HEREBY

ORDERED that:

      1.     Plaintiffs' motion for summary judgment on "Defendants' defenses

related to incorrect inventorship for f real' s self-cleaning blender patents, and

related counterclaims" (see D.I. 169) is DENIED.



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      2.    Plaintiffs' motion for summary judgment on "Defendants' inequitable

conduct affirmative defenses and counterclaim" (see D.I. 169) is DENIED.

      3.    Plaintiffs' motion for summary judgment of "no invalidity of Claim

21 of [U.S. Patent No. 7,520,662] in view of Defendants' admissible prior art" (see

D.I. 169) is GRANTED.

      IT IS SO ORDERED.




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